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FLED ENTERED
U.S, District Court for Maryland a
6500 Cherrywood Lane <<
Greenbelt, MD 20770 MAY 29 2012
ATGRGENGELT =
U.S.A. Plaintiff +) oDIRTINCT OF ManYoe
v. ) Case # 04-cr-002F > RTE™
Lavon Dobie Defendant )

Re: Motion To Replace Appointed Counsel

May this Court note for the Record that Ms. Mirriam Seddigq who has been
appointed to represent me at my Resentencing isn’t up to the job. This is because after |
spoke with her and upon doing a background check on her work history, it appears she has
virtually no experience or practical courtroom skills to handle my Resentencing.

That the above being the case, I am genuinely concerned that my 6" Amendment
Right to effective legal representation will be undermined. Therefore, I pray that this Court
should within the context of “Strickland” promptly replace her.

That not to replace my current attorney will prejudice my Resentencing where I
stand a good chance to reduce my sentence or to be retried pursuant to a 4" Circuit Order
that recently granted me a partial remand.

In conclusion, this Court should replace my consul for all the reasons cited above
for to do otherwise will breach the High Court rulings in Haines v. Kerner, 404 U.S. 519,
30 L Ed 2d 62 1972; Cruz v. Beto, 405 U.S. 319 (1972); Lawler v. Marshall, 898 F.2d
1196 (6" Circuit 1990); and Hill v. U.S., 368 U.S. 424, 430 (1962) where the High Court
has held that the little guys such as Dobie should be given a fair treatment and leeway in
such matters by Federal Courts for they are the ones without formal! {egal training, not
incompetent lawyers.

I conclude by requesting a prompt “hearing” if there is any objection to this narrow

issue over replacing my current court appointed counsel.

Respectfully Submitted by: Lavon Dobie # 38360-037
U.S.P. Hazelton
SFF-HZ J2103L
PO Box 3000
Bruceton Mills, WV 26525
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Certificate of Service

That on this day of 5/24/2012, I did cause to be sent per the U.S. Postmastercopies
of the above Motion to my current Attorney Mirriam Seddiq whose last known address is
6411 Orchard Ave, Takoma Park, MD 20912 and same to Rod J. Rosenstein, US Attorney
for Maryland and also Donald Verrelli, Solicitor General of the U.S. at 900 Pennsylvania
Ave, NW, DC 20530.

Lavon Dobie

ce:
1. An excerpt of L. Dobie’s most recent Docket Entries. See pp. 3-5.
2. A profile of Dobie’s court appointed attorney, M. Seddiq of Takoma Park, MD,
showing her legal skills are too weak to help Dobie. See pp.6-8.
